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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 STATE OF MARYLAND, et al.,

 Plaintiffs,                                      Case No. 1:25-cv-00748-JKB

         v.

 UNITED STATES DEP’T OF
 AGRICULTURE,et al.,

 Defendants.


                                          ORDER

        On Defendants’ Consent NUNC PRO TUNC MOTION FOR 43-MINUTE EXTENSION

OF TIME TO FILE COMPLIANCE REPORT, good cause having been shown, Defendants’

motion is GRANTED. It is hereby ORDERED that Defendants’ deadline to file a Status Report

is extended, nunc pro tunc, to 7:43pm on March 17, 2025.

                   18th day of March, 2025, at ______________________.
        DATED this ______                      7:15 a.m.



                            BY THE COURT:

                            /S/ JAMES K. BREDAR
                            _______________________________________________
                            The Honorable James K. Bredar
                            United States District Judge
